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                                                                             CLOSED, TRANS−O, APPEAL




                                         U.S. Bankruptcy Court
                                    Western District of Texas (Austin)
                                   Bankruptcy Petition #: 24−11544−cgb
                                                                             Date filed: 12/04/2024
    Assigned to: Bankruptcy Judge Christopher G Bradley                Date terminated: 12/06/2024
    Chapter 11
    Involuntary


    Debtor disposition: Interdistrict Case Transfer

    Debtor                                                represented by Shea Neal Palavan
    Jetall Companies                                                     Houstonip
    13498 Pond Springs Rd                                                5353 West Alabama Street
    Austin, TX 78729                                                     Suite 303
    WILLIAMSON−TX                                                        Houston, TX 77056
    Tax ID / EIN: 54−2182089                                             832−800−4133
                                                                         Fax : 855−725−2826
                                                                         Email: shea@houstonip.com

    Petitioning Creditor
    EAO Global LLC
    dba PopLabs

     Filing Date           #                                       Docket Text

                               7     Notice of Appeal Filed by Shea Neal Palavan for Debtor Jetall Companies (
                                     Filing Fee:$ 298.00 ) (Palavan, Shea) (Attachments: # 1 Exhibit 1 −
                                     Order)(related document(s): 2 Order Transferring Case To The Southern
     01/06/2025                      District Of Texas (Order entered on 12/6/2024))

                                     ICC−Fee Terminated for Notice of Appeal( 24−11544−cgb) [appeal,ntcapl]
                                     ( 298.00), Amount $ 298.00, Receipt AXXXXXXXX (re:Doc# 7) (U.S.
     01/06/2025                      Treasury)




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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

   In re:                                       §
                                                §                  CHAPTER 11
   JETALL COMPANIES, INC.,                      §
                                                §           CASE NO. 24-11544-CGB
            Debtor.                             §


                                    NOTICE OF APPEAL


         PLEASE TAKE NOTICE that Debtor, Jetall Companies, Inc. (“Appellant”),

  hereby respectfully 6appeals to the United States District Court for the Western District of

  Texas from the following Order:

         a. Order Transferring Case to Southern District of Texas dated December 6,
            2024 (Dkt. No. 2; the “Order”), attached hereto as Exhibit 1.

         Jetall Companies, Inc., is the debtor in this bankruptcy case. The other parties to the

  appeal, and their respective attorneys, include the following:

   EAO Global, LLC d/b/a PopLabs,                   Kell Corrigan Mercer
                                                    KELL C. MERCER, P.C.
            Creditor.                               901 S MoPac Expy, Bldg 1, Suite 300
                                                    Austin, Texas 78746
                                                    Tel.: (512) 627-3512
                                                    Fax: (512) 597-0767
                                                    kell.mercer@mercer-law-pc.com

         This appeal is timely filed pursuant to Rules 8002(a)(1) & 8002(b)(1)(B)-(D) of the

  FEDERAL RULE OF BANKRUPTCY PROCEDURE because Appellant timely filed a motion for

  reconsideration and relief from judgment on December 21, 2024 (see Dkt. No. 4), fourteen

  (14) days after the Order was entered (see Dkt. No. 2). That motion for reconsideration was

  dismissed by order entered on December 23, 2024 (see Dkt. No. 5), and this notice is filed



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  within fourteen (14) days from the entry of that order.



   DATED: January 6, 2025                       Respectfully submitted,

                                                /s/ Shea N. Palavan
                                                Shea N. Palavan (TX Bar. No. 24083616)
                                                houstonip
                                                5353 West Alabama Street, Suite 303
                                                Houston, Texas 77056
                                                Tel.: (832) 800-4133
                                                Fax: (855) 725-2826
                                                shea@houstonip.com

                                                Justin Rayome (TX Bar No. 24130709)
                                                5882 Sugar Hill Drive
                                                Houston, Texas 77057
                                                Tel.: (214) 934-9345
                                                justinrayome3@gmail.com

                                                Attorneys for Debtor,
                                                Jetall Companies, Inc.




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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on this 6th day of January 2024, a true and
  correct copy of the foregoing was served on the following in accordance with the
  CM/ECF e-filing system, and upon all others who have consented to service in this
  case by registering to receive notices in this case through the CM/ECF e-filing
  system.

        Kell Corrigan Mercer
        KELL C. MERCER, P.C.
        901 S MoPac Expy, Bldg 1, Suite 300
        Austin, Texas 78746
        Tel.: (512) 627-3512
        Fax: (512) 597-0767
        kell.mercer@mercer-law-pc.com

   DATED: January 6, 2025                     /s/ Shea N. Palavan
                                              Shea N. Palavan




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                              EXHIBIT 1




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  The relief described hereinbelow is SO ORDERED.



  Signed December 06, 2024.

                                                             __________________________________
                                                                  CHRISTOPHER G. BRADLEY
                                                             UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                                    §
   In re:
                                                    §       CASE NO. 24-11544-cgb
   JETALL COMPANIES, INC.                           §
                                                    §       CHAPTER 11
                    Alleged Debtor.
                                                    §

       ORDER TRANSFERRING CASE TO THE SOUTHERN DISTRICT OF TEXAS

            On December 4, 2024, an Involuntary Petition Against a Non-Individual was filed against

  Jetall Companies, Inc. The Court has determined that this case should be transferred to the

  Southern District of Texas in the interest of justice. Accordingly,

            IT IS HEREBY ORDERED and NOTICE is given that the above-captioned case is

  transferred from this Court to the Honorable Jeffrey P. Norman in the United States Bankruptcy

  Court for the Southern District of Texas.

            IT IS FURTHER ORDERED that the Clerk of the Court shall immediately cause a copy

  of this order to be served on all parties in interest in this case.

                                                    ###


                                                                                         EXHIBIT
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